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EXHIBIT B ‐ Eligible/Some Discovery/ NO Expert Report/Rec'd Deficiency Letter/ response date has expired




                                                                                                            Missing
                                                                                                            Expert Report
                                                         Middle                                             Deficiency
VCN     FirmName           LastName      FirstName       Initial    Case Caption           Docket #         Letter Date
        Burford, Robert
        J. & Associates,                                            England, Lisa G. v.    2:08‐cv‐00153‐
1092135 PLLC               England       Lisa                       Merck & Co., Inc.      EEF‐DEK             8/15/2008
        Burford, Robert                                             Hallman, James H.
        J. & Associates,                                            Sr. v. Merck & Co.,    2:07‐cv‐09402‐
1092133 PLLC               Hallman       James                      Inc.                   EEF‐DEK             8/15/2008
        Burford, Robert
        J. & Associates,                                            Hendley, Fredrick v. 2:08‐cv‐00158‐
1092136 PLLC               Hendley       Frederick                  Merck & Co., Inc.    EEF‐DEK               8/15/2008
        Christoff,
        William Z.,                                                 Kerr, Sr., Kenneth K. 2:06‐cv‐11113‐
1119207 Attorney at Law    Kerr, Sr.     Kenneth         K.         v. Merck & Co., Inc. EEF‐DEK               8/15/2008

        Hamilton Law                                                Gernhart, Alan v.      2:06‐cv‐10605‐
1106445 Firm, P.C.         Gernhart      Charlotte       A.         Merck & Co., Inc.      EEF‐DEK             8/15/2008
                                                                    Rockingham,
        Matthews &                                                  Valerie v. Merck &     2:06‐cv‐07115‐
1084291 Associates         Salyers       Sydney          S          Co., Inc.              EEF‐DEK             8/15/2008

        Modesett, Jack,                                             Garrett, Charles R. 2:07‐cv‐02140‐
1081640 III, Law Offices of Garrette     Juanita         T.         v. Merck & Co., Inc. EEF‐DEK               8/15/2008




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